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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

DANIEL D. FINK, individually and as
Personal Representative of the Estate of
Caleb D. Fink, deceased, for the benefit of
his survivors and the Estate,
      Plaintiff,
v.                                                   Case No. 1:23-cv-63-AW-ZCB
ALACHUA COUNTY SHERIFF’S
OFFICE, et al.,
     Defendants.
_______________________________/
             ORDER DISMISSING FICTITIOUS DEFENDANTS

      The court has considered Plaintiff’s response to the court’s order regarding

fictitious defendants. ECF No. 26. Plaintiff has not shown that the claims as currently

pleaded are appropriate, so the claims against the fictitious defendants are dismissed.

See Richardson v. Johnson, 598 F.3d 734, 738 (11th Cir. 2010).

      Discovery will soon begin, though, if it has not already. ECF No. 29. And this

dismissal is without prejudice to Plaintiff’s seeking a later amendment to name

additional defendants.

      SO ORDERED on August 30, 2023.

                                        s/ Allen Winsor
                                        United States District Judge
